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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                              Crim. Action No. 1:21CR108

 MICHAEL FOY,

                       Defendant.




                                   JOINT STATUS REPORT


        Michael Foy and the United States, by and through their attorneys, respectfully submits this

Joint Status Report, in lieu of the Scheduling Order ordered by the Court. The parties are nearing a

disposition short of trial. The government is in the process of generating paperwork and confirming

supervisory approval. The parties hope to have a concrete update for the Court by September 28,

2022.


                                             Respectfully submitted,

                                             A. J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                                    /s/
                                             ____________________________
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                          MATTHEW GRAVES
                          UNITED STATES ATTORNEY

                                 /s/
                          _______________________________
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